Makin’ Choices, Rachelle Brooks Blue, and Lamont C. Adams

SCHEDULE “A”


                            PERIOD                   BACK          LD
EMPLOYEE                  FROM    TO                 WAGES         AGREED       TOTAL

Gist, Chrishell            08/03/14-11/16/14          $3,307.65    $3,307.65    $6,612.30

Mastin, Kanita             07/27/14-09/14/14          $3,143.68    $3,143.68    $6,287.36

McGhee, Mary S             10/15/14-09/20/15          $7,898.12    $7,898.12    $15,796.24

Reid, Katrina              10/05/14-01/25/15          $2,603.38    $2,603.38    $5,206.76



                                        TOTAL         $16,952.83   $16,952.83   $33,905.66




                                                                           SCHEDULE “A”


         Case 1:16-cv-01065-NCT-LPA Document 10-1 Filed 06/13/17 Page 1 of 1
